                                                                 EXHIBIT A

In re                         Chapter 7 Proceeding      Fees Previously Requested   $ 0.00 Name of Applicant:      James E. Cross of Cross
                                                        by Cross Law Firm, P.L.C.                                  Law Firm, P.L.C.
VALLEY HOSPICE OF             No. 2: 21-bk-08392-PS     Costs Previously            $ 0.00 Role in this case:      Subchapter V Trustee
ARIZONA, INC.,                                          Requested by Cross Law
                                                        Firm, P.L.C.
        Debtor.                                                                             Fees Requested:        $18,285.00

                                                                                            Expenses Requested:    $0.00

  JAMES E. CROSS’ FIRST AND FINAL APPLICATION FOR APPROVAL AND PAYMENT OF COMPENSATION OF FEES AND
                                    REIMBURSEMENT OF EXPENSES AS SUBCHAPTER V TRUSTEE
                              APPLICATION PERIOD: NOVEMBER 16, 2021 THROUGH JANUARY 20, 2022

PROFESSIONAL                            YEAR ADMITTED                HOURS              CURRENT                   TOTAL FOR THIS
                                         TO PRACTICE                 BILLED           HOURLY RATE                  APPLICATION

James E. Cross - Trustee                         1983                  41.40                $400.00                  $16,560.00

Kara L. Stewart - Paralegal                      n/a                   11.50                $150.00                   $1,725.00

TOTAL                                                                 _____                                          $18,285.00

TOTAL FEES AND COSTS:               $18,285.00
In re Valley Hospice of Arizona, Inc .; 2:21-bk-               Fee App Period:                   11/16/21-1/20/22
                         Description                                        Timeke...     Date         Qty.         Ra...     Amount

B110 - Case Administration
Correspondence with Ed Bernatavicius re: new case                                JEC    11/16/2021      0.5          400.00     200.00
appointment (.2); call with Ed Bernatavicius to discuss
same (.2); conduct conflict check and sign certification of
appointment (.1).
Correspondence from Ed Bernatavicius to debtor’s                                 JEC    11/17/2021      0.2          400.00     80.00
counsel with questions on patient census and related
matters (.1); read and revise letter to debtor’s counsel
and Notice of Appearance (.1).
Review docket and pleadings filed; docket all dates and                          KS     11/17/2021      0.6          150.00     90.00
deadlines; review email from US Trustee setting IDI;
email to all parties advising J. Cross may be late to IDI
due to another hearing(.2); draft intro letter to debtor’s
counsel(.1); draft Notice of Appearance and Request for
Notice(.1); revise and finalize letter to counsel for debtor
and send(.1); revise and finalize Notice of Appearance
and file same with court via ECF(.1).
Correspondence with Mr. Luikens re: meeting with him                             JEC    11/18/2021      0.7          400.00     280.00
and his client (.2); call with Ed Bernatavicius re: patient
ombudsman (.2); review Code provisions on
Ombudsman appointment (.2); read e-mail from Ed
Bernatavicius re: same (.1).
Correspondence with Mr. Luikens and Mr. Bernatavicius                            JEC    11/19/2021      0.4          400.00     160.00
re: case status and patient ombudsman (.2);
correspondence to debtor’s counsel re: SubV process
and expectations (.2).
Correspondence with Messrs. Luikens and Bernatavicius                            JEC    11/22/2021      1.2          400.00     480.00
re: call today on case status (.2); call with Mr. Luikens
and his client re: background information on filing, issues,
and challenges (.8); call with Ed Bernatavicius re: same
(.2).
Read pleadings and stipulation on appointment of Patient                         JEC    11/23/2021      1.4          400.00     560.00
Care Ombudsman (.2); conference with K. Stewart and
read background information obtained from public
records search by K. Stewart (.5); read schedules and
statements (.3); correspondence with Mr. Knapper and
Ed Bernatavicius re: same (.2); read and sign amended
Rule 2016 Disclosure (.1); read article on filing from
Phoenix Business Journal (.1).
Conduct online research re debtor and owner of debtor;                           KS     11/23/2021      0.9          150.00     135.00
prepare memo to J. Cross re same(.9).
Correspondence with Ed Bernatavicius and Mr. Luikens                             JEC    11/24/2021      0.9          400.00     360.00
re: status of patient care for upcoming holiday weekend
(.3); conference call with Mr. Knapper and Ed
Bernatavicius re: agreement to seek immediate status
conference before Judge Sala if no response from Debtor
today to confirm patient care is not suffering due to lack
of funds (.3); read additional information on Debtor from
D. Knapper (.2); read order on PCO (.1).
Draft Trustee’s Amended Verified Statement(.2); revise                           KS     11/24/2021      1.1          150.00     165.00
and finalize same and file with court via ECF(.1); review
Debtor’s Schedules and Statements; prepare updated
memo to J. Cross re analysis of same(.8).
Read and revise request for status hearing (.4);                                 JEC    11/29/2021      1.3          400.00     520.00
correspondence with Ed Bernatavicius and Dave
Knapper re: input on draft and update on information from
debtor provided by Knapper (.3); revise and update
request (.2); read and revise Motion for Accelerated
Hearing and order re same (.3); read stipulated order on
appointment of PCO (.1).
Draft Joint Motion for Immediate Status Hearing(.3);                             KS     11/29/2021      1.4          150.00     210.00
review and revise same, adding in edits from other
parties(.2); revise and finalize Joint Motion and prepare
all Exhibits for same(.2); draft Motion for Accelerated
Hearing re same(.2); file Joint Motion for Immediate
Status Hearing and Motion to Accelerate re same with
court via ECF(.2); emails with judge’s clerk re setting
hearing; prepare proposed Order setting accelerated
hearing and lodge same with court via ECF; file Notice of
Lodging Proposed Order with court via ECF(.2); obtain
Order setting accelerate hearing from court and serve on
all parties(.1).
Follow up on call from Mr. Luikens to seek hearing             JEC   11/30/2021   0.7   400.00     280.00
continuance to Wednesday December 1 due to his travel
schedule (.2); conference with K. Stewart to request
moving hearing to Wednesday; confirm D. Knapper and
Ed Bernatavicius are available if hearing moved (.2); read
and approve motion and order to move hearing to
12-1-21 (.2); read Debtor’s Status Report (.1).
Emails with judge’s clerk re rescheduling hearing due to       KS    11/30/2021   0.5   150.00     75.00
all parties not available today; draft Motion to Reschedule
Status Hearing and proposed Order re same(.2); revise
and finalize Motion and file same with court via ECF;
lodge proposed Order and file Notice of Lodging
Proposed Order with court via ECF(.2); obtain Order
rescheduling hearing from court and serve on all
parties(.1).
Read NOA filed by Ms. Goodman as PCO (.1); read                JEC   12/1/2021    2.3   400.00     920.00
correspondence between PCO and Mr. Luikens (.1); call
with Ed B. to discuss concerns of Ms. Goodman and
discuss issues to address at today’s hearing regarding
patient care and regulatory compliance (.3); continue
reading through statements and schedules to prepare for
today’s hearing (.3); read minute entry from Status
Hearing and follow up with Ms. Goodman and Ed B. re
site visit tomorrow (.5); read correspondence from PCO
to Mr. Luikens requesting information on patient care by
Debtor (.1); read documents provided by Debtor re: IDI by
UST (.7); read e-mail from S. Goodman with list of
documents needed for on-site visit tomorrow (.2).
Travel to Debtor’s business place on McKellips to meet         JEC   12/2/2021    3.7   400.00   1,480.00
with PCO (.7); meeting with Ms. Goodman at VHA
headquarters, discuss initial findings and concerns (.7);
review contracts supplied by debtor (.8); return travel to
office (.5); correspondence to Mr. Luikens to inform of
site visit (.2); correspondence and phone call with Ed
Bernatavicius and Susan Goodman re: concern over
debtor’s failure to meet regulatory compliance for
licensing with AZDHS (.4); read Minute Entry from
yesterday’s hearing (.1); several calls with Ms. Goodman
and Ed B. re: further updates and confusion regarding
which patients are still under care (.3).
Call from Ms. Goodman re: further issues identified such       JEC   12/3/2021    0.8   400.00     320.00
as no social worker and inability to hear back from
physician on call (.3); call from Mr. Luikens to confirm
there are no patients under active care and that $5,000
was received this Wednesday from Medicare (.2); several
calls with S. Goodman and E. Bernatavicius to discuss
additional issues that have arisen re: patient contact (.3).
Correspondence and phone calls with Ed Bernatavicius           JEC   12/4/2021    0.5   400.00     200.00
and Susan Goodman re: need for immediate action on
case (.3); read draft of preliminary report from Ms.
Goodman (.2).
Correspondence from S. Goodman with draft of report to         JEC   12/6/2021    2.3   400.00     920.00
court (.1); read same and discuss with Ed Bernatavicius
re: concerns raised by PCO report (.2); participate in
conference call with Ms. Goodman and Ed B. re: items
needing attention and discussion for best path forward to
insure patient care (1.0); read revised PCO report (.1);
correspondence from Ms. Goodman re: affiliated entities
providing services to debtor (.2); call with Ed re: action
plan for Wednesday’s hearing (.2); call with Dave
Knapper with status update (.3); conference with K.
Stewart re: public record search on Lewis entities (.2).
Conduct online research re debtor; emails with J. Cross        KS    12/6/2021    0.3   150.00     45.00
re same(.3).
Correspondence with Ed Bernatavicius re: IDI today (.2);       JEC   12/7/2021    1.7   400.00     680.00
correspondence with S. Goodman re: filing of report
today and update on discussions with AZDHS (.2); read
materials provided by debtor and participate in IDI with L.
Teague (.9); call with Mr. Teague re: same (.2); call with
Ed Bernatavicius and Susan Goodman re: report and
hearing tomorrow (.2).
Call with Ms. Goodman re: update on patient discharge          JEC   12/8/2021    1.7   400.00     680.00
status (.2); follow up on payment to Cox for pre-petition
debt (.1); correspondence from Dave Knapper re:
problems with insurance coverage on residence (.2);
prepare for and attend status hearing on status of
hospice patients (1.2).
Correspondence with Ms. Goodman re: update on state            JEC   12/9/2021       0.2   400.00       80.00
review (.2).
Read and approve patient letter to discharged patients         JEC   12/17/2021      0.3   400.00       120.00
from PCO (.2); correspondence from Ed Bernatavicius
and Susan Goodman re: same (.1).
Call from Susan Goodman re: talks with Medicare reps in        JEC   12/20/2021      0.3   400.00       120.00
San Francisco (.2); read case provided by Ms. Goodman
re: Medicare right to offset not affected by BK filing (.1).
Correspondence from Mr. Knapper and call with Ms.              JEC   12/21/2021      0.8   400.00       320.00
Goodman with update and intent to update report to court
as PCO (.2); correspondence to Mr. Luikens re: Medicare
right to recoupment and holding in 9th Circuit in TLC
Hospitals case (.2); discuss same with Dave Knapper
(.2); call from Ms. Goodman with update on her
investigation of patient discharges (.2).
Correspondence with S. Goodman re: supplement to               JEC   12/27/2021      0.3   400.00       120.00
report (.1); correspondence with Mr. Luikens re: case
status (.2).
Correspondence with Mr. Luikens re: status update (.1).        JEC   12/28/2021      0.1   400.00       40.00
Read notice of filing 341 transcript (.1).                     JEC   1/3/2022        0.1   400.00       40.00
Read information from PCO re: update on investigation          JEC   1/4/2022        0.2   400.00       80.00
(.2).
Review file and draft Sub V Trustee Monthly Report for         KS    1/4/2022        0.1   150.00       15.00
November 2021 (.1).
Correspondence with Ms. Goodman re: APS becoming               JEC   1/6/2022        0.4   400.00       160.00
involved in case (.1); watch YouTube video interview of
Ms. Lewis re: hospice care facility (.2); review and
approve Sub V Trustee November Report(.1).
Revise and finalize Sub V Trustee Monthly Report for           KS    1/6/2022        0.1   150.00       15.00
November 2021 and send same to L. Teague(.1).
Correspondence from PCO re: supplemental report (.1);          JEC   1/10/2022       0.2   400.00       80.00
read same(.1).
Correspondence with Mr. Knapper re: Lewis forming new          JEC   1/11/2022       0.2   400.00       80.00
hospice entity (.2).
Read information on entities owned by owner of Debtor,         JEC   1/12/2022       0.2   400.00       80.00
Ms. Lewis (.2).
Correspondence with Ms. Goodman re: claims and status          JEC   1/14/2022       0.2   400.00       80.00
update on patient care (.2).
Correspondence with court re: 341 meeting date (.2);           JEC   1/20/2022       0.4   400.00       160.00
follow up with UST re: appointment as interim 7 trustee
and amount of bond (.2).
Emails with International Sureties re need for Trustee         KS    1/20/2022       0.1   150.00       15.00
Bond(.1).
Subtotal                                                                          29.3              10,445.00
JEC - 24.2 hours = $9,680.00
KS - 5.1 hours = $765.00


B130 - Asset Disposition
Read letter from Dave Knapper re: real property lien held      JEC   11/22/2021      0.2   400.00       80.00
by his client (.2).
Read and respond to correspondence from Mr. Knapper            JEC   11/23/2021      0.3   400.00       120.00
re: real property asset and lien (.2); read ECF filings by
Mr. Knapper (.1).
Correspondence with D. Knapper re: insurance coverage          JEC   11/24/2021      0.2   400.00       80.00
(.2).
Read update on amounts due on Presidio residence (.2).         JEC   11/30/2021      0.2   400.00       80.00
Review documents on transfer of property and                   JEC   12/2/2021       0.3   400.00       120.00
pre-payment of mortgage owed prior to BK filing (.3).
Review various documents received from counsel for             KS    12/2/2021       0.3   150.00       45.00
creditor Mewon McCarthy SP Trust; email to J. Cross
with analysis re same(.3).
Read market valuation on residence (.2).                       JEC   12/15/2021      0.2   400.00       80.00
Read correspondence from Mr. Knapper re: insurance             JEC   12/16/2021      0.2   400.00       80.00
coverage on residence (.2).
Correspondence from Mr. Knapper re: insurance on real          JEC   12/29/2021      0.2   400.00       80.00
property (.2).
Correspondence with D. Knapper re: residence in Mesa           JEC   1/7/2022        0.1   400.00       40.00
(.1).
Read update on Presidio property valuation (.2).               JEC   1/12/2022       0.2   400.00       80.00
Prepare valuation report on Presidio property(.2).              KS   1/12/2022       0.2   150.00       30.00
Subtotal                                                                         2.6                  915.00
JEC - 2.1 hours = 840.00
KS - .5 hours = $75.00


           B150 - Meeting of and Communications With Creditors
Prepare for and participate in 341 meeting (2.2).             JEC   12/14/2021         2.2   400.00   880.00
Call with T. Lewis to discuss sexual harassment claim         JEC   1/3/2022           0.2   400.00   80.00
creditor (.2).
Subtotal                                                                         2.4                  960.00
JEC - 2.4 hours = $960.00


B190 - Other Contested Matters
Call with Dave Knapper re: motion to convert (.2).            JEC   12/8/2021          0.2   400.00   80.00
Discuss Motion to Convert with Ed Bernatavicius and           JEC   12/9/2021          0.4   400.00   160.00
Dave Knapper (.2); begin outline of draft of motion to
covert (.4); call with Ed B. re: same (.2).
Read and revise draft of motion to convert (.3); research     JEC   12/10/2021         1.4   400.00   560.00
re: same (.4); correspondence with Ed Bernatavicius re:
joinder in same (.3); correspondence with Dave Knapper
re: joinder in same (.2); read and revise Motion for
Accelerated hearing and order re: same (.2).
Review file and draft Trustee’s Motion to Convert to          KS    12/10/2021         2     150.00   300.00
Chapter 7(1.2); draft Motion for Accelerated Hearing and
proposed Order re same(.2); revise draft motions and
email same to Ed Bernatavicius for review(.2); revise and
finalize Motion to Convert and Motion for Accelerated
Hearing on same and file pleadings with court via ECF;
finalize proposed Order setting hearing and lodge same
with court; file Notice of Lodging same with court via
ECF(.3); email to judge’s clerk re same(.1).
Read debtor’s response to Motion to Convert (.2);             JEC   12/13/2021         0.3   400.00   120.00
discuss same with Ed Bernatavicius and Dave Knapper
(.2); read order setting hearing on Motion to Convert (.1).
Prepare for and attend hearing on Motion to Convert (.9);     JEC   12/14/2021         1.1   400.00   440.00
call with Ed B. following hearing to discuss path forward
(.2).
Correspondence with US Trustee and Dave Knapper re:           JEC   12/15/2021         0.2   400.00   80.00
exhibits for January hearing on Motion to Convert (.2).
Read order setting deadlines for evidentiary hearing on       JEC   12/22/2021         0.6   400.00   240.00
Motion to Convert (.1); correspondence to T. Luikens re:
settlement offer on Motion to Convert (.4); read Luiken’s
response (.1).
Correspondence with Mr. Luikens re: response to Motion        JEC   12/29/2021         0.4   400.00   160.00
to Convert and update on same (.2); conference call with
Mr. Luikens and Ed Bernatavicius re: Motion to Convert
and potential filing of motion to dismiss by debtor (.2).
Correspondence and call with Dave Knapper re: Reply to        JEC   12/30/2021         0.4   400.00   160.00
Motion to Convert and response to Motion to Dismiss
(.2); read Debtor’s Supplemental Response to Motion to
Convert and Lewis declaration (.2).
Correspondence with D. Knapper re: motion to dismiss          JEC   12/31/2021         0.4   400.00   160.00
(.2); call with Ms. Goodman to discuss supplement to her
report as PCO (.2).
Correspondence with D. Knapper re: motion to convert          JEC   1/3/2022           0.1   400.00   40.00
(.1).
Read and revise draft of stipulation and order on January     JEC   1/4/2022           0.5   400.00   200.00
20th hearing (.3); correspondence with Messrs. Luikens,
Knapper and Bernatavicius re: same (.2).
Draft Stipulation re Hearing on Motion to Convert and         KS    1/4/2022           0.8   150.00   120.00
proposed Order re same(.5); review and revise same;
email same to T. Luikens, E. Bernatavicius, and D.
Knapper for review and edit(.2); review email from T.
Luikens re requested edits and forward same to
parties(.1).
Correspondence with Messrs. Knapper, Bernatavicius,           JEC   1/5/2022           0.5   400.00   200.00
and Luikens re: revisions to stipulation and form of order
on Motions to Convert/Dismiss (.3); read and approve
final form of pleadings and view ECF entry of order
approving stipulation (.2).
Review and revise Stipulation re Hearing on Motion to         KS    1/5/2022           0.4   150.00   60.00
Convert and proposed Order re same and email to
parties for further review and approval(.2); finalize
Stipulation and proposed Order; file Stipulation with court
via ECF; lodge proposed Order and file Notice of Lodging
re same with court via ECF(.2).
Begin outline for draft of consolidated Response/Reply        JEC   1/6/2022           0.5   400.00     200.00
(.4); read Notice of Hearing on Motion to Dismiss (.1).
Read and revise Consolidated Reply/Response to Motion         JEC   1/7/2022           0.3   400.00     120.00
to Convert and Motion to Dismiss (.3).
Review pleadings and various emails and draft Sub V           KS    1/7/2022           1     150.00     150.00
Trustee’s Consolidated Reply re Motion to Convert and
Response re Motion to Dismiss(.7); review and revise
same(.3).
Correspondence from Ed Bernatavicius and Dave                 JEC   1/10/2022          0.5   400.00     200.00
Knapper re: edits to joint Response/Reply (.2); finalize
same and approve for filing (.3).
Review and revise Sub V Trustee’s Reply re Motion to          KS    1/10/2022          0.4   150.00     60.00
Convert and Response re Motion to Dismiss; email same
to E. Bernatavicius and D. Knapper for review and
comment(.2); review responsive emails and make
changes to Reply/Response(.2).
Finalize response/reply to Motion to Convert and Motion       JEC   1/12/2022          0.7   400.00     280.00
to Dismiss (.3); read UST Reply/Response (.2);
correspondence and phone call from Ms. Goodman re:
need to redact information in Reply/Response (.2).
Revise and finalize Sub V Trustee’s Reply re Motion to        KS    1/12/2022          0.2   150.00     30.00
Convert and Response re Motion to Dismiss and file
same with court via ECF(.2).
Follow up on Motion to Redact, read and revise draft of       JEC   1/13/2022          0.7   400.00     280.00
same (.2); follow up on form of order and discuss same
with PCO (.2); read and finalize Reply re Motion to
Convert and Response re Motion to Dismiss (.2); read
Joinders re: same (.1).
Calls with court re redacting pleading; conference with J.    KS    1/13/2022          0.7   150.00     105.00
Cross re same; draft Motion to Redact and proposed
Order re same; prepare redacted pleading for Exhibit to
same(.5); revise and finalize Motion and file same with
court; lodge proposed Order and file Notice of Lodging
same with court via ECF(.2).
Prepare for and attend hearing on motion to                   JEC   1/20/2022          2     400.00     800.00
convert/dismiss (1.5); draft form of order granting Motion
to Convert (.1); correspondence with D. Knapper re:
same (.2); correspondence with counsel re: approval of
form of order (.2).
Revise Order Converting Case to Chapter 7; email draft        KS    1/20/2022          0.4   150.00     60.00
order to parties for review and approval(.3); finalize
proposed Order and lodge same with court; file Notice of
Lodging re same via ECF(.1).
Subtotal                                                                         17.1                 5,365.00
JEC - 11.2 hours = 4,480.00
KS - 5.9 hours = $885.00


B310 - Claims Administration & Objections
Read POC's filed in case (.1).                                JEC   11/18/2021         0.1   400.00     40.00
Read POC's filed (.1).                                        JEC   11/22/2021         0.1   400.00     40.00
Correspondence from R. Graves re: AZDOR Notice of             JEC   11/23/2021         0.2   400.00     80.00
Appearance and POC (.1); read IRS POC (.1).
Read POC filed by V. McLeod (.1).                             JEC   12/1/2021          0.1   400.00     40.00
Read POC’s recently filed (.2).                               JEC   12/8/2021          0.2   400.00     80.00
Read AETNA POC (.1).                                          JEC   12/30/2021         0.1   400.00     40.00
Read Verizon POC filing (.1).                                 JEC   1/4/2022           0.1   400.00     40.00
Read POC filed by Dr. Rubin (.1); read POC for PPP loan       JEC   1/6/2022           0.2   400.00     80.00
from Texas National Bank (.1).
Read POC filed by T. Lewis’s client re: sexual                JEC   1/12/2022          0.2   400.00     80.00
harassment and wrongful termination (.2).
Read POC filed by LVNV funding (.1).                          JEC   1/17/2022          0.1   400.00     40.00
Read Enterprise POC (.1).                                     JEC   1/19/2022          0.1   400.00     40.00
Subtotal                                                                         1.5                    600.00
JEC - 1.5 hours = $600.00


Reimburseable Expenses
PACER Charges - 4th Quarter 2021   5   0.10   0.50
Reimbursable Expenses Subtotal                0.50


TOTAL FEES: $18,285.00
TOTAL FEES & COSTS: $18,285.50
